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                 Policy For Public Assembly And Petitioning And
                   Distribution Of Literature On Library District
                                      Property


                                                                                                Approved by the Board of Trustees July 23, 2019

              Policy for Public Assembly and Petitioning and Distribution of Literature on Library District Property

    Pursuant to the authority granted to the St. Joseph Public Library District (SJPL) under RSMo § 182.230, this policy
    establishes reasonable rules and regulations controlling public assembly and the petitioning and distribution of
    literature to employees or patrons on SJPL property by individuals or groups.

    Persons are prohibited from engaging in organized public speech or holding public assemblies, protests, rallies,
    and/or gatherings (collectively, “Assembly”), and from engaging in the personal petitioning or distribution of
    literature to library employees and patrons (collectively, “Petitioning”) in SJPL buildings and grounds except as
    provided herein. Petitioners and those Assembling are allowed as long as they are in designated areas and follow
    library policies. Government agencies that disseminate information in SJPL buildings pursuant to the approval of
    the Library Director or his/her designee are not engaged in petition or distribution of literature as de ned in this
    policy, and are not subject to the restrictions herein.

    Assembly and/or Petitioning are only allowed on SJPL property in the following circumstances:
    1. Assembly and/or Petitioning are permitted inside the library only when included as part of the agenda of a
    meeting o cially scheduled in a library meeting room, and approved in accordance with SJPL’s Meeting Room
    Policy.
    2. Except as part of an o cially scheduled meeting, those engaged in Assembly and/or Petitioning, shall be
    required to stand outside library buildings on SJPL property in areas designated by staff, away from entrances, and
    must not impede tra c or pursue patrons.

    If an individual engaged in Assembly and/or Petitioning is not in a designated area, is impeding tra c, or pursues
    patrons, he or she will be asked to follow the guidelines contained in this policy. If the guidelines are not followed,
    the individual will be asked to leave the premises.

    The allowance of any Assembly or Petitioning on SJPL property shall not be deemed to constitute an endorsement
    by SJPL of the content of such Assembly or Petitioning.
    Any person wishing to appeal or otherwise question the enforcement of a restriction under this policy should be
    referred to the Library Director or his/her designee.

    This policy is not designed to prohibit the initial access of any person to SJPL property, and shall be enforced
    without prejudice or arbitrary distinctions between individuals, classes of individuals, or the opinions being
    expressed.
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    Designated Areas: the following locations may be used by individuals or groups who desire to engage in Assembly
    and/or Petitioning on SJPL property:

    Carnegie Library: In the library park at the bench on the east side of the library.

    Downtown Library: On the sidewalk in a location that does not impede patrons from accessing the front steps.

    Washington Park Library: In the library park at the front of the building by the two benches.

    East Hills Library: An area of eight squares of concrete halfway between the statue garden and the front door. The
    nine squares are between the pillars. Petitioners and those Assembling should not be on the sidewalk in front of
    the pillars or the ten squares of concrete directly in front of the entrance. Petitioners and Assemblers may not
    impede entrance into the library. Please see picture below for clari cation. The green area is the area where
    petitioners should stand.




             Hours & Locations
       Downtown Library

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